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                IN THE UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF GEORGIA
                                     AUGUSTA DIVISION

                                                   *


UNITED STATES OF AMERICA,                          *
                                                   *


               v,

                                                   *                CR    116-076
JACEYON EVANS,           aka CURTIS                *
WILSON,                                            *

                                                   *
       Defendant,




                                           ORDER




       Presently         before    the     Court       is   the     Government's        Motion   to

Amend Indictment.            (Doc.       40).     The Government            requests an order

to change Defendant's name from Jaceyon Evans to Curtis Wilson.

The    Government        states    that     Jaceyon         Evans    is    an   alias     and that

Defendant      admitted       at     his    Initial         Appearance          and    Arraignment

that his      real name was        Curtis       Evans.


       Federal Courts may amend indictments to correct "^minor and

technical      deficiencies          which       do     not    prejudice         the    accused/"

Russel v.      United States,            369 U.S. 749, 763               (1962) (quoting Smith

v. United States,           360 U.S. 1,          9 (1959)).          This includes amending

indictments         to   reflect    a defendant's             true    name      when he    used an

alias at the time of the indictment.                          U.S.    v.   Canty,      971 F.Supp.

687,    689    (1997).        Because           the    alias      used     by    the    Government

reflected the true identity of the Defendant, and amending the
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indictment to reflect Defendant's legal name will not prejudice

Defendant,   the   Court    GRANTS   the   Government's      motion      (doc.    40)

and ORDERS the CLERK to amend the indictment accordingly.

     ORDER    ENTERED      at   Augusta,   Georgia,       this      Q?      day    of

January,   2017.




                                     HONOK&BSE   J.     RANDAL   HALL
                                     UNITED   JBTATES    DISTRICT   JUDGE
                                              (N DISTRICT OF GEORGIA
